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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                       LAFAYETTE-OPELOUSAS DIVISION

 LUCY REED                                      CIVIL ACTION NO. 08-306

 VERSUS                                         JUDGE MELANÇON

 VINCENT SYKES, ET AL                           MAGISTRATE JUDGE HILL

                                      JUDGMENT

       Before the Court is the parties’ Joint Motion to Dismiss [Rec. Doc. 26]. Having

 considered the motion and the record before the Court, it is

       ORDERED that this action is hereby DISMISSED with each party to bear its

 own costs and without prejudice to the right, upon good cause shown within thirty

 (30) days, to reopen the action if settlement is not consummated.

       IT IS FURTHER ORDERED that the parties are to submit to the Court a Joint

 Stipulation of Dismissal pursuant to Fed. R. Civ. P. 41 within thirty (30) days of entry

 of this judgment.

       THUS DONE AND SIGNED this 13th day of August, 2009 in Lafayette,

 Louisiana.

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                                Tucker L. Melançon
                            United States District Judge
